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                                                                   EXHIBIT E




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Mark Willis                                                                 Invoice 167733
c/o Willis Group                                                          November 7, 2017
    Redacted


Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.




For Services Rendered Through 10/31/2017

                   Current Fees                               10,606.00
                   Advanced Deposit Applied                  - 5,000.00
                   Total Current Charges                                           5,606.00
                   Total Due                                                       5,606.00




                                                                             Exhibit E
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                                   Sullivan Hill Lewin Rez & Engel, APLC

Mark Willis                                                                           November 7, 2017
Re: Ensource Investments LLC v. Tatham et al.                                           Invoice: 167733
I.D. 09404-17558 - SDS                                                                           Page: 2



                                                 Fee Recap
                                                                  Hours       Rate/Hour       Amount
Erin A. Barber                Paralegal                                4.80        175.00           840.00
Katie A. Millerick            Associate                                1.30        325.00           422.50
Shannon D. Sweeney            Shareholder                              0.70          0.00               0.00
Shannon D. Sweeney            Shareholder                             19.70        350.00         6,895.00
Priyanka Talukdar             Associate                                8.30        295.00         2,448.50
                                                        Totals:       34.80                     10,606.00




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Mark Willis                                                                 Invoice 168004
c/o Willis Group                                                           January 8, 2018
    Redacted


Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.




For Services Rendered Through 12/31/2017
                   Balance Forward                                                 5,606.00
                   Current Fees                               11,334.00
                   Current Disbursements                          11.34
                   Current Interest                               56.06
                   Total Current Charges                                         11,401.40
                   Total Due                                                     17,007.40




                                                                             Exhibit E
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                                   Sullivan Hill Lewin Rez & Engel, APLC

Mark Willis                                                                                 January 8, 2018
Re: Ensource Investments LLC v. Tatham et al.                                               Invoice: 168004
I.D. 09404-17558 - SDS                                                                               Page: 2



                                                 Fee Recap
                                                                  Hours       Rate/Hour         Amount
Erin A. Barber                Paralegal                               20.40        175.00           3,570.00
Shannon D. Sweeney            Shareholder                             17.80        350.00           6,230.00
Priyanka Talukdar             Associate                                5.20        295.00           1,534.00
                                                        Totals:       43.40                       11,334.00




                                                                                              Exhibit E
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Mark Willis                                                                 Invoice 168271
c/o Willis Group                                                           February 8, 2018
          Redacted



Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.




For Services Rendered Through 1/31/2018

                   Balance Forward                                               17,007.40
                   Current Fees                                6,570.00
                   Current Interest                             169.51
                   Total Current Charges                                           6,739.51

                   Total Due                                                     23,746.91




                                                                             Exhibit E
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                                  Sullivan Hill Lewin Rez & Engel, APLC

Mark Willis                                                                                 February 8, 2018
Re: Ensource Investments LLC v. Tatham et al.                                                Invoice: 168271
I.D. 09404-17558 - SDS                                                                                Page: 2



                                                Fee Recap
                                                                 Hours          Rate/Hour        Amount
Erin A. Barber                Paralegal                                  8.10        175.00          1,417.50
Shannon D. Sweeney            Shareholder                                1.10        400.00            440.00
Priyanka Talukdar             Associate                              14.50           325.00          4,712.50
                                                       Totals:       23.70                           6,570.00




                                                                                               Exhibit E
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Mark Willis                                                                 Invoice 168399
c/o Willis Group                                                             March 6, 2018
          Redacted



Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.




For Services Rendered Through 2/28/2018

                   Balance Forward                                               23,746.91
                   Current Fees                               10,664.50
                   Current Interest                             169.51
                   Total Current Charges                                         10,834.01

                   Total Due                                                     34,580.92




                                                                             Exhibit E
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                                  Sullivan Hill Lewin Rez & Engel, APLC

Mark Willis                                                                                     March 6, 2018
Re: Ensource Investments LLC v. Tatham et al.                                                 Invoice: 168399
I.D. 09404-17558 - SDS                                                                                 Page: 2



                                                Fee Recap
                                                                 Hours          Rate/Hour         Amount
Erin A. Barber                Paralegal                              11.30           175.00          1,977.50
Katie A. Healy                Associate                                  0.60        345.00            207.00
Shannon D. Sweeney            Shareholder                                8.20        400.00          3,280.00
Priyanka Talukdar             Associate                                  2.10          0.00                0.00
Priyanka Talukdar             Associate                              16.00           325.00          5,200.00
                                                       Totals:       38.20                         10,664.50




                                                                                               Exhibit E
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Mark Willis                                                                Invoice 168595
c/o Willis Group                                                              April 9, 2018
          Redacted



Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.




For Services Rendered Through 3/31/2018

                   Previous Balance                                             34,580.92
                   Payments                                                     -12,000.00
                   Balance Forward                                              22,580.92
                   Current Fees                               13,010.00
                   Current Interest                             221.86
                   Total Current Charges                                        13,231.86

                   Total Due                                                    35,812.78




                                                                            Exhibit E
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                                  Sullivan Hill Lewin Rez & Engel, APLC

Mark Willis                                                                                      April 9, 2018
Re: Ensource Investments LLC v. Tatham et al.                                                 Invoice: 168595
I.D. 09404-17558 - SDS                                                                                 Page: 2



                                                Fee Recap
                                                                 Hours          Rate/Hour         Amount
Erin A. Barber                Paralegal                                  3.00        175.00            525.00
Shannon D. Sweeney            Shareholder                                7.00        400.00          2,800.00
Priyanka Talukdar             Associate                                  9.20          0.00                0.00
Priyanka Talukdar             Associate                              29.80           325.00          9,685.00
                                                       Totals:       49.00                         13,010.00




                                                                                               Exhibit E
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Mark Willis                                                                Invoice 168727
c/o Willis Group                                                              May 8, 2018
          Redacted



Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.




For Services Rendered Through 4/30/2018

                   Previous Balance                                             35,812.78
                   Payments                                                     -10,000.00
                   Balance Forward                                              25,812.78
                   Current Fees                                2,995.00
                   Current Disbursements                         11.74
                   Current Interest                             121.86
                   Total Current Charges                                          3,128.60

                   Total Due                                                    28,941.38




                                                                            Exhibit E
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                                  Sullivan Hill Lewin Rez & Engel, APLC

Mark Willis                                                                                      May 8, 2018
Re: Ensource Investments LLC v. Tatham et al.                                                 Invoice: 168727
I.D. 09404-17558 - SDS                                                                                 Page: 2



                                                Fee Recap
                                                                 Hours          Rate/Hour         Amount
Erin A. Barber                Paralegal                                  0.20        175.00                35.00
Shannon D. Sweeney            Shareholder                                7.40        400.00          2,960.00
                                                       Totals:           7.60                        2,995.00




                                                                                               Exhibit E
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Mark Willis                                                                Invoice 168915
c/o Willis Group                                                            June 11, 2018
          Redacted



Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.




For Services Rendered Through 5/31/2018

                   Balance Forward                                              28,941.38
                   Current Fees                               17,510.00
                   Current Interest                             282.03
                   Total Current Charges                                        17,792.03

                   Total Due                                                    46,733.41




                                                                            Exhibit E
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                                  Sullivan Hill Lewin Rez & Engel, APLC

Mark Willis                                                                                  June 11, 2018
Re: Ensource Investments LLC v. Tatham et al.                                              Invoice: 168915
I.D. 09404-17558 - SDS                                                                              Page: 2



                                                Fee Recap
                                                                 Hours       Rate/Hour         Amount
Erin A. Barber                Paralegal                              75.60        175.00        13,230.00
Shannon D. Sweeney            Shareholder                            10.70        400.00          4,280.00
                                                       Totals:       86.30                      17,510.00




                                                                                            Exhibit E
                                                                                            Page 80
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Mark Willis                                                                Invoice 169047
c/o Willis Group                                                              July 9, 2018
             Redacted



Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.




For Services Rendered Through 6/30/2018

                   Previous Balance                                             46,733.41
                   Payments                                                     -17,792.09
                   Balance Forward                                              28,941.32
                   Current Fees                                2,437.50
                   Current Disbursements                           7.08
                   Current Interest                             282.03
                   Total Current Charges                                          2,726.61

                   Total Due                                                    31,667.93




                                                                            Exhibit E
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                                  Sullivan Hill Lewin Rez & Engel, APLC

Mark Willis                                                                                       July 9, 2018
Re: Ensource Investments LLC v. Tatham et al.                                                 Invoice: 169047
I.D. 09404-17558 - SDS                                                                                 Page: 2



                                                Fee Recap
                                                                 Hours          Rate/Hour         Amount
Erin A. Barber                Paralegal                                  5.70        175.00            997.50
Shannon D. Sweeney            Shareholder                                3.60        400.00          1,440.00
                                                       Totals:           9.30                        2,437.50




                                                                                               Exhibit E
                                                                                               Page 82
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Mark Willis                                                                Invoice 169286
c/o Willis Group                                                           August 7, 2018
             Redacted



Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.




For Services Rendered Through 7/31/2018

                   Balance Forward                                              31,667.93
                   Current Fees                                3,845.00
                   Current Interest                             282.03
                   Total Current Charges                                          4,127.03

                   Total Due                                                    35,794.96




                                                                            Exhibit E
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                                  Sullivan Hill Lewin Rez & Engel, APLC

Mark Willis                                                                                    August 7, 2018
Re: Ensource Investments LLC v. Tatham et al.                                                 Invoice: 169286
I.D. 09404-17558 - SDS                                                                                 Page: 2



                                                Fee Recap
                                                                 Hours          Rate/Hour         Amount
Erin A. Barber                Paralegal                                  3.00        175.00            525.00
Shannon D. Sweeney            Shareholder                                8.30        400.00          3,320.00
                                                       Totals:       11.30                           3,845.00




                                                                                               Exhibit E
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Mark Willis                                                                   Invoice 169464
c/o Willis Group                                                          September 14, 2018
             Redacted



Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.




For Services Rendered Through 8/31/2018

                   Balance Forward                                                 35,794.96
                   Current Fees                               11,287.50
                   Current Disbursements                           5.68
                   Current Interest                             344.92
                   Total Current Charges                                           11,638.10

                   Total Due                                                       47,433.06




                                                                               Exhibit E
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis                                                                            September 14, 2018
Re: Ensource Investments LLC v. Tatham et al.                                              Invoice: 169464
I.D. 09404-17558 - SDS                                                                              Page: 2



                                                Fee Recap
                                                                  Hours         Rate/Hour       Amount
Erin A. Barber                Paralegal                                 27.70        175.00         4,847.50
Shannon D. Sweeney            Shareholder                               16.10        400.00         6,440.00
                                                        Totals:         43.80                     11,287.50




                                                                                              Exhibit E
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Mark Willis                                                                Invoice 169626
c/o Willis Group                                                          October 16, 2018
             Redacted



Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.




For Services Rendered Through 9/30/2018

                   Balance Forward                                               47,433.06
                   Current Fees                                5,370.00
                   Current Interest                             457.85
                   Total Current Charges                                           5,827.85

                   Total Due                                                     53,260.91




                                                                             Exhibit E
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis                                                                                  October 16, 2018
Re: Ensource Investments LLC v. Tatham et al.                                                 Invoice: 169626
I.D. 09404-17558 - SDS                                                                                 Page: 2



                                                Fee Recap
                                                                  Hours          Rate/Hour        Amount
Erin A. Barber                Paralegal                                 17.20         175.00          3,010.00
Shannon D. Sweeney            Shareholder                                 5.90        400.00          2,360.00
                                                        Totals:         23.10                         5,370.00




                                                                                                Exhibit E
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Mark Willis                                                                  Invoice 169823
c/o Willis Group                                                          November 15, 2018
             Redacted



Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 10/31/2018

                   Previous Balance                                                53,260.91
                   Payments                                                        -15,000.00
                   Balance Forward                                                 38,260.91
                   Current Fees                               35,590.00
                   Current Disbursements                           2.10
                   Current Interest                             311.80
                   Total Current Charges                                           35,903.90

                   Total Due                                                       74,164.81




                                                                               Exhibit E
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis                                                                             November 15, 2018
Re: Ensource Investments LLC v. Tatham et al.                                              Invoice: 169823
I.D. 09404-17558 - SDS                                                                              Page: 2



                                                Fee Recap
                                                                  Hours          Rate/Hour       Amount
Erin A. Barber                Paralegal                                  70.80        175.00       12,390.00
Shannon D. Sweeney            Shareholder                                58.00        400.00       23,200.00
                                                        Totals:         128.80                     35,590.00




                                                                                               Exhibit E
                                                                                               Page 90
    Case 3:17-cv-00079-H-LL Document 168-4 Filed 01/02/20 PageID.5309 Page 26 of 106




Mark Willis                                                                 Invoice 169898
c/o Willis Group                                                          December 6, 2018
             Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 11/30/2018

                   Balance Forward                                               74,164.81
                   Current Fees                               23,513.00
                   Current Disbursements                       1,570.64
                   Current Interest                             365.50
                   Total Current Charges                                         25,449.14

                   Total Due                                                     99,613.95




                                                                             Exhibit E
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis                                                                              December 6, 2018
Re: Ensource Investments LLC v. Tatham et al.                                              Invoice: 169898
I.D. 09404-17558 - SDS                                                                              Page: 2



                                                Fee Recap
                                                                  Hours          Rate/Hour       Amount
Erin A. Barber                Paralegal                                   1.00          0.00               0.00
Erin A. Barber                Paralegal                                 45.60         175.00         7,980.00
Donald G. Rez                 Shareholder                                 0.50          0.00               0.00
Donald G. Rez                 Shareholder                                 1.40        495.00           693.00
Shannon D. Sweeney            Shareholder                               37.10         400.00       14,840.00
                                                        Totals:         85.60                      23,513.00




                                                                                               Exhibit E
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Mark Willis                                                                 Invoice 170118
c/o Willis Group                                                          January 14, 2019
             Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 12/31/2018

                   Balance Forward                                               99,613.95
                   Current Fees                                6,380.00
                   Current Disbursements                       2,725.50
                   Current Interest                             972.26
                   Total Current Charges                                         10,077.76

                   Total Due                                                    109,691.71




                                                                             Exhibit E
                                                                             Page 93
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis                                                                                  January 14, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                 Invoice: 170118
I.D. 09404-17558 - SDS                                                                                 Page: 2



                                                Fee Recap
                                                                  Hours          Rate/Hour        Amount
Erin A. Barber                Paralegal                                   0.80        175.00            140.00
Donald G. Rez                 Shareholder                                 0.20          0.00                0.00
Shannon D. Sweeney            Shareholder                               15.60         400.00          6,240.00
                                                        Totals:         16.60                         6,380.00




                                                                                                Exhibit E
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Mark Willis; The Willis Group; Beyond Review and Image                      Invoice 170210
c/o Willis Group                                                          February 11, 2019
            Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 1/31/2019

               Previous Balance                                                  109,691.71
               Adjustments                                                         -3,620.00
               Balance Forward                                                   106,071.71
               Current Fees                                    4,226.50
               Current Disbursements                               0.89
               Current Interest                                 936.06
               Total Current Charges                                                5,163.45

               Total Due                                                         111,235.16




                                                                              Exhibit E
                                                                              Page 95
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis                                                                                  February 11, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                  Invoice: 170210
I.D. 09404-17558 - SDS                                                                                  Page: 2



                                                Fee Recap
                                                                  Hours          Rate/Hour         Amount
Erin A. Barber                Paralegal                                   1.90        185.00             351.50
Shannon D. Sweeney            Shareholder                                 0.70          0.00                 0.00
Shannon D. Sweeney            Shareholder                                 9.20        400.00           3,680.00
Michael A. Zarconi            Associate                                   0.60        325.00             195.00
                                                        Totals:         12.40                          4,226.50




                                                                                                 Exhibit E
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Mark Willis; The Willis Group; Beyond Review and Image                     Invoice 170426
c/o The Willis Group                                                       March 13, 2019
            Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 2/28/2019

               Balance Forward                                                 111,235.16
               Current Fees                                    3,163.00
               Current Interest                                1,027.12
               Total Current Charges                                              4,190.12

               Total Due                                                       115,425.28




                                                                            Exhibit E
                                                                            Page 97
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis; The Willis Group; Beyond Review and Image                                           March 13, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                    Invoice: 170426
I.D. 09404-17558 - SDS                                                                                    Page: 2



                                                   Fee Recap
                                                                    Hours          Rate/Hour         Amount
Erin A. Barber                Paralegal                                     6.30        185.00          1,165.50
Shannon D. Sweeney            Shareholder                                   0.10          0.00                0.00
Shannon D. Sweeney            Shareholder                                   4.70        425.00          1,997.50
                                                          Totals:       11.10                           3,163.00




                                                                                                  Exhibit E
                                                                                                  Page 98
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Mark Willis; The Willis Group; Beyond Review and Image                     Invoice 170605
c/o The Willis Group                                                         April 22, 2019
            Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 3/31/2019

               Previous Balance                                                115,425.28
               Payments                                                         -60,000.00
               Balance Forward                                                  55,425.28
               Current Fees                                    3,164.50
               Current Interest                                 501.02
               Total Current Charges                                              3,665.52

               Total Due                                                        59,090.80




                                                                            Exhibit E
                                                                            Page 99
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis; The Willis Group; Beyond Review and Image                                             April 22, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                    Invoice: 170605
I.D. 09404-17558 - SDS                                                                                    Page: 2



                                                   Fee Recap
                                                                    Hours          Rate/Hour         Amount
Erin A. Barber                Paralegal                                     1.70        185.00             314.50
D. Gianna Garcia              Paralegal                                     0.50        175.00                 87.50
Shannon D. Sweeney            Shareholder                                   6.50        425.00           2,762.50
                                                          Totals:           8.70                         3,164.50




                                                                                                   Exhibit E
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Mark Willis; The Willis Group; Beyond Review and Image                     Invoice 170742
c/o The Willis Group                                                         May 14, 2019
            Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 4/30/2019

               Balance Forward                                                   59,090.80
               Current Fees                                   16,557.00
               Current Interest                                 501.02
               Total Current Charges                                             17,058.02

               Total Due                                                         76,148.82




                                                                             Exhibit E
                                                                            Page 101
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis; The Willis Group; Beyond Review and Image                                          May 14, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                 Invoice: 170742
I.D. 09404-17558 - SDS                                                                                 Page: 2



                                                   Fee Recap
                                                                    Hours       Rate/Hour         Amount
Erin A. Barber                Paralegal                                 19.20        185.00           3,552.00
Shannon D. Sweeney            Shareholder                               30.60        425.00         13,005.00
                                                          Totals:       49.80                       16,557.00




                                                                                                Exhibit E
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Mark Willis; The Willis Group; Beyond Review and Image                     Invoice 170925
c/o The Willis Group                                                        June 13, 2019
            Redacted



Our Matter # 09404-17558 - SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 5/31/2019

               Previous Balance                                                  76,148.82
               Payments                                                         -30,000.00
               Adjustments                                                        -2,022.35
               Balance Forward                                                   44,126.47
               Current Fees                                   10,837.50
               Current Disbursements                            765.66
               Current Interest                                 232.66
               Total Current Charges                                             11,835.82

               Total Due                                                         55,962.29




                                                                             Exhibit E
                                                                            Page 103
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis; The Willis Group; Beyond Review and Image                                          June 13, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                 Invoice: 170925
I.D. 09404-17558 - SDS                                                                                 Page: 2



                                                   Fee Recap
                                                                    Hours       Rate/Hour         Amount
Erin A. Barber                Paralegal                                 34.00        185.00           6,290.00
Shannon D. Sweeney            Shareholder                               10.70        425.00           4,547.50
                                                          Totals:       44.70                       10,837.50




                                                                                                Exhibit E
                                                                                               Page 104
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Mark Willis; The Willis Group; Beyond Review and Image                     Invoice 171114
c/o The Willis Group                                                         July 17, 2019
            Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 6/30/2019

               Previous Balance                                                  55,962.29
               Payments                                                         -30,000.00
               Adjustments                                                        -3,801.96
               Balance Forward                                                   22,160.33
               Current Fees                                   20,326.00
               Current Disbursements                            501.00
               Current Interest                                 214.27
               Total Current Charges                                             21,041.27

               Total Due                                                         43,201.60




                                                                             Exhibit E
                                                                            Page 105
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis; The Willis Group; Beyond Review and Image                                              July 17, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                    Invoice: 171114
I.D. 09404-17558 - SDS                                                                                    Page: 2



                                                   Fee Recap
                                                                    Hours          Rate/Hour         Amount
Robert P. Allenby             Shareholder                                   0.30          0.00                 0.00
Robert P. Allenby             Shareholder                                   0.30        495.00             148.50
Erin A. Barber                Paralegal                                 13.50           185.00           2,497.50
Shannon D. Sweeney            Shareholder                               41.60           425.00         17,680.00
                                                          Totals:       55.70                          20,326.00




                                                                                                   Exhibit E
                                                                                                  Page 106
    Case 3:17-cv-00079-H-LL Document 168-4 Filed 01/02/20 PageID.5325 Page 42 of 106




Mark Willis; The Willis Group; Beyond Review and Image                      Invoice 171229
c/o The Willis Group                                                       August 15, 2019
            Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 7/31/2019

               Balance Forward                                                   43,201.60
               Current Fees                                   11,700.50
               Current Disbursements                               3.80
               Current Interest                                 214.27
               Total Current Charges                                             11,918.57
               Total Due                                                         55,120.17




                                                                             Exhibit E
                                                                            Page 107
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis; The Willis Group; Beyond Review and Image                                         August 15, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                  Invoice: 171229
I.D. 09404-17558 - SDS                                                                                  Page: 2



                                                   Fee Recap
                                                                    Hours          Rate/Hour        Amount
Erin A. Barber                Paralegal                                     8.80        185.00          1,628.00
Shannon D. Sweeney            Shareholder                               23.70           425.00        10,072.50
                                                          Totals:       32.50                         11,700.50




                                                                                                  Exhibit E
                                                                                                 Page 108
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Mark Willis; The Willis Group; Beyond Review and Image                        Invoice 171325
c/o The Willis Group                                                      September 10, 2019
            Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 8/31/2019

               Balance Forward                                                      55,120.17
               Current Fees                                   30,485.50
               Current Disbursements                             16.50
               Current Interest                                 422.54
               Total Current Charges                                                30,924.54
               Total Due                                                            86,044.71




                                                                                Exhibit E
                                                                               Page 109
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis; The Willis Group; Beyond Review and Image                                    September 10, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                 Invoice: 171325
I.D. 09404-17558 - SDS                                                                                 Page: 2



                                                   Fee Recap
                                                                    Hours          Rate/Hour        Amount
Erin A. Barber                Paralegal                                 28.30           185.00          5,235.50
Shannon D. Sweeney            Shareholder                               58.80           425.00        24,990.00
Michael A. Zarconi            Associate                                     0.80        325.00            260.00
                                                          Totals:       87.90                         30,485.50




                                                                                                  Exhibit E
                                                                                                 Page 110
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Mark Willis; The Willis Group; Beyond Review and Image                     Invoice 171480
c/o The Willis Group                                                       October 7, 2019
            Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 9/30/2019

               Balance Forward                                                   86,044.71
               Current Fees                                    7,482.50
               Current Interest                                 539.58
               Total Current Charges                                               8,022.08
               Total Due                                                         94,066.79




                                                                             Exhibit E
                                                                            Page 111
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis; The Willis Group; Beyond Review and Image                                           October 7, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                    Invoice: 171480
I.D. 09404-17558 - SDS                                                                                    Page: 2



                                                   Fee Recap
                                                                    Hours          Rate/Hour         Amount
Erin A. Barber                Paralegal                                     3.00        185.00             555.00
Shannon D. Sweeney            Shareholder                               16.30           425.00           6,927.50
                                                          Totals:       19.30                            7,482.50




                                                                                                   Exhibit E
                                                                                                  Page 112
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Mark Willis; The Willis Group; Beyond Review and Image                       Invoice 171680
c/o The Willis Group                                                      November 14, 2019
            Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 10/31/2019

               Previous Balance                                                    94,066.79
               Payments                                                           -50,000.00
               Balance Forward                                                     44,066.79
               Current Fees                                   38,449.50
               Current Disbursements                           1,503.30
               Current Interest                                 419.42
               Total Current Charges                                               40,372.22
               Total Due                                                           84,439.01




                                                                               Exhibit E
                                                                              Page 113
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis; The Willis Group; Beyond Review and Image                                    November 14, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                Invoice: 171680
I.D. 09404-17558 - SDS                                                                                Page: 2



                                                   Fee Recap
                                                                    Hours          Rate/Hour        Amount
Robert P. Allenby             Shareholder                                   4.40        495.00          2,178.00
Erin A. Barber                Paralegal                                  51.90          185.00          9,601.50
Donald G. Rez                 Shareholder                                   0.50          0.00                0.00
Shannon D. Sweeney            Shareholder                                61.30          425.00        26,052.50
Michael A. Zarconi            Associate                                     1.90        325.00            617.50
                                                          Totals:       120.00                        38,449.50




                                                                                                  Exhibit E
                                                                                                 Page 114
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Mark Willis; The Willis Group; Beyond Review and Image                       Invoice 171955
c/o The Willis Group                                                      December 12, 2019
            Redacted



Our Matter # 09404-17558-SDS
Re: Ensource Investments LLC v. Tatham et al.



For Services Rendered Through 11/30/2019

               Balance Forward                                                     84,439.01
               Current Fees                                   74,255.50
               Current Disbursements                             58.40
               Current Interest                                 419.42
               Total Current Charges                                               74,733.32
               Total Due                                                          159,172.33




                                                                               Exhibit E
                                                                              Page 115
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                                      Sullivan Hill Rez & Engel, APLC

Mark Willis; The Willis Group; Beyond Review and Image                                    December 12, 2019
Re: Ensource Investments LLC v. Tatham et al.                                                Invoice: 171955
I.D. 09404-17558 - SDS                                                                                Page: 2



                                                   Fee Recap
                                                                    Hours          Rate/Hour        Amount
Robert P. Allenby             Shareholder                                   1.10        495.00            544.50
Erin A. Barber                Paralegal                                  79.40          185.00         14,689.00
Erin A. Barber                Paralegal                                   ­6.80         185.00         ­1,258.00
Donald G. Rez                 Shareholder                                 0.10          525.00                 52.50
Donald G. Rez                 Shareholder                                ­0.10         ­525.00                ­52.50
Shannon D. Sweeney            Shareholder                               114.00          425.00         48,450.00
Michael A. Zarconi            Associate                                  41.80          325.00         13,585.00
Michael A. Zarconi            Associate                                  ­5.40          325.00         ­1,755.00
                                                          Totals:       224.10                         74,255.50




                                                                                                  Exhibit E
                                                                                                 Page 116
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                                                             EXHIBIT F
                                                                         Exhibit F
                                                                        Page 117
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                               Justin Pannu 10/29/2018


    1                  UNITED STATES DISTRICT COURT

    2                SOUTHERN DISTRICT OF CALIFORNIA

    3

    4    ENSOURCE INVESTMENTS, LLC, a         )
         Delaware limited liability company,  )
    5                                         )
                     Plaintiff,               )
    6                                         )
              v.                              )
    7                                         )Case No.:
                                              )17CV0079 H JMA
    8    THOMAS P. TATHAM, an individual;     )
         MARK A. WILLIS, an individual; PDP   )
    9    MANAGEMENT GROUP, LLC, a Texas       )
         limited liability company; TITLE     )
   10    ROVER, LLC, a Texas limited liability)
         company; BEYOND REVIEW, LLC, a Texas )
   11    limited company; IMAGE ENGINE, LLC, a)
         WILLIS GROUP, LLC, a Texas limited   )
   12    liability company; and DOES 1-50,    )
                                              )
   13                Defendants.              )
         _____________________________________)
   14

   15             VIDEOTAPED DEPOSITION OF JUSTIN PANNU

   16                       SAN DIEGO, CALIFORNIA

   17                            OCTOBER 29, 2018

   18

   19    REPORTED BY BRIDGET L. MASTROBATTISTA, CSR NO. 7715,
                   REGISTERED PROFESSIONAL REPORTER
   20                  REGISTERED MERIT REPORTER
                      CERTIFIED REALTIME REPORTER
   21

   22

   23

   24

   25

                     Peterson Reporting Video & Litigation Services             1

                                                                         Exhibit F
                                                                        Page 118
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                                Justin Pannu 10/29/2018


    1    might have been a year.

    2           Q   And did you go every weekend during that

    3    year --

    4           A     I did.

    5           Q   -- to Canada?

    6           A     I did go to Canada during that weekend.

    7    Well, every second weekend would be the course.                So

    8    every second weekend.

    9           Q   So I noticed when you were going through

   10    the lawsuits that you've been involved in that you

   11    have some experience with investing in other outside

   12    endeavors.

   13               Are you involved in any investments right

   14    now?

   15           A     I am.

   16           Q   What are those?

   17           A     With Chad Martin in real estate in -- in

   18    Houston.

   19           Q   How long have you been involved in that?

   20           A     I believe 2016.

   21           Q   You made the investment in 2016?

   22           A     It's an ongoing investment.             So the first

   23    investment was 2016, you know, in the number of

   24    different companies or entities that held real

   25    estate for rehabs or development.

                      Peterson Reporting Video & Litigation Services               31

                                                                              Exhibit F
                                                                             Page 119
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                               Justin Pannu 10/29/2018


    1           Q    And do you have an entity that was created

    2    in order to make that investment?

    3           A    There was a few entities that were

    4    created, yes.

    5           Q    What are the names of those entities?

    6           A    One of them -- the first was

    7    CMSK Ventures.

    8           Q    CMSK?

    9           A    CMSK Ventures.        The other one is -- and

   10    that held the two rehabs.

   11                The other one is -- I don't remember the

   12    address, but it's a numbered address, Woodthorpe,

   13    LLC.

   14           Q    Are those --

   15           A    And then --

   16           Q    Excuse me.

   17           A    There is one called JPCM Ventures, LLC.

   18                And there are a number of companies on the

   19    shelf that we have created that we haven't actually

   20    used yet.    So I don't remember what they were, but

   21    if you want them I can get them.

   22           Q    The CMSK Ventures, is that an LLC as well?

   23           A    Yes.

   24           Q    And is Chad Martin the other -- the only

   25    other member in those three entities?

                     Peterson Reporting Video & Litigation Services           32

                                                                         Exhibit F
                                                                        Page 120
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                                  Justin Pannu 10/29/2018


    1            A      No.    It is Cliff Sharp in CMSK.                And

    2    Scott Kelly in CMSK.           And it is myself and

    3    Chad Martin in Woodthorpe and JPCM.                  I believe JPCM

    4    now owns Woodthorpe.           And Queenswood.         There's

    5    6102 Queenswood, LLC.           That's Chad and I also.

    6         Q        Are all of those Houston-based LLCs?

    7            A      They are.

    8         Q        And are they all involved in real estate?

    9            A      They are all involved in real estate, yes.

   10         Q        Is that purchasing different types of real

   11    estate as investments?

   12            A      That is -- we -- that is either purchasing

   13    them for rehabs or purchasing for the purpose of

   14    developing new -- a spec home.

   15         Q        So is the business model that you purchase

   16    rehab and then sell or is it to purchase rehab and

   17    rent?

   18            A      At first it was to purchase rehab and

   19    sell.       Now it is to purchase lots or homes with --

   20    or lots with homes that can be torn down and then

   21    redeveloped by a builder that we have.

   22         Q        And are all of the properties being

   23    purchased in Houston?

   24            A      Yes.

   25         Q        How much money do you have invested in the

                        Peterson Reporting Video & Litigation Services               33

                                                                                Exhibit F
                                                                               Page 121
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                               Justin Pannu 10/29/2018


    1         A      The note is due and payable as of

    2    September 30th.

    3         Q      Are you worried that that debt won't get

    4    resolved?

    5         A      Yes.

    6         Q      I want to learn about EnSource.                  Why --

    7    what is EnSource?

    8         A      EnSource is a company that was formed for

    9    the purpose of investing in Hopewell.

   10         Q      Who are its members?

   11         A      Its members are the Kilimanjaro group,

   12    myself, Cliff Sharp and Chad Martin.

   13         Q      Was anyone else ever a member?

   14         A      No.

   15         Q      Kilimanjaro is affiliated with

   16    Jerry Johns; is that correct?

   17         A      Jerry Johns, yes.

   18         Q      What's the affiliation there?

   19         A      He's a member of Kilimanjaro.

   20         Q      Is he the managing member?

   21         A      As far as I know.         I don't know exactly.

   22         Q      What does Kilimanjaro do?

   23         A      I --

   24                MR. SADOCK:      Objection.         Calls for

   25    speculation.

                     Peterson Reporting Video & Litigation Services                  39

                                                                                Exhibit F
                                                                               Page 122
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                               Justin Pannu 10/29/2018


    1                THE WITNESS:       I don't know.        I don't know.

    2    They're just a group.        They're a member of EnSource.

    3    BY MS. SWEENEY:

    4         Q      Did you do any sort of due diligence on

    5    the members of EnSource before they became members?

    6         A      Other than that they're my friends and

    7    that I've known them for quite some time, no.

    8         Q      Jerry Johns is your friend?

    9         A      Yes.

   10         Q      How long have you known him?

   11         A      Over, I think, quite a number of years.

   12    No, I couldn't tell you.          I think maybe ten?           I

   13    don't know.

   14         Q      Did you ever ask him what Kilimanjaro did?

   15         A      I don't remember what -- I don't remember

   16    what he did.     I don't know -- I do have some vague

   17    memory that he might have told me they formed

   18    Kilimanjaro for the purpose of investing in

   19    EnSource.    Or they had that on the shelf.

   20         Q      So you're using the word "they."                 Does

   21    that mean that Kilimanjaro has more than one member?

   22         A      Yes.

   23         Q      Who are the other members of Kilimanjaro?

   24         A      James Dibble.       Jeff Merola.        And there's

   25    another member.      I don't know who it is.             And there

                     Peterson Reporting Video & Litigation Services                 40

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                                                                              Page 123
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                                Justin Pannu 10/29/2018


    1    Kilimanjaro?

    2         A       I don't know if it was Kilimanjaro at that

    3    time.     I don't think it was.

    4         Q      And when you say Jerry's group, do you

    5    mean the group that includes James Dibble and

    6    Jeff Merola?

    7         A       Yeah.    And maybe other people that I don't

    8    know about.

    9         Q      They were involved in the Fantasy Hub?

   10         A       Yes.

   11         Q      Okay.     When you formed EnSource, was there

   12    any sort of requirement for someone to become a

   13    member?

   14                 MR. SADOCK:      Objection.         Vague as to time.

   15    Ambiguous as to "requirement."

   16                 THE WITNESS:       Other than we were friends,

   17    I don't remember being any requirement.

   18    BY MS. SWEENEY:

   19         Q      There wasn't a requirement that somebody

   20    had a certain amount of net worth or a certain

   21    amount of money to invest?

   22         A       Oh, yes, I'd asked -- because the Hopewell

   23    subscription agreement had asked for a net worth, I

   24    had asked if everybody was accredited.                 And I got a

   25    yes from everybody.

                      Peterson Reporting Video & Litigation Services                42

                                                                               Exhibit F
                                                                              Page 124
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                               Justin Pannu 10/29/2018


    1         Q     Did you ask it just like that, "Are you

    2    accredited?"

    3         A     Yes.    "Are you accredited?"            That's it.

    4         Q     What do you understand accredited to mean?

    5               MR. SADOCK:       Objection.         Calls for a legal

    6    conclusion.

    7               THE WITNESS:        I believe it was over -- I

    8    believe it was a SEC definition at the time, and I

    9    don't remember what that was, but I just asked if

   10    they were accredited.

   11    BY MS. SWEENEY:

   12         Q     Do you have a appreciation as to what it

   13    means?   Does it require a certain net worth?                Does

   14    it require --

   15         A     Yeah, I didn't ask exactly what -- it just

   16    said -- everyone seemed to know what that meant.

   17    And they just said yes.         So I -- for me, I don't

   18    remember the amounts, but I think it was 200- or

   19    250- for the last two years, and a million dollars

   20    net of your residence or something like that.

   21         Q     Were you an accredited investor?

   22         A     I'm an accredited investor.

   23         Q     You are now?

   24         A     I am now as well.

   25         Q     You were in 2016?

                     Peterson Reporting Video & Litigation Services                43

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                                                                             Page 125
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                                Justin Pannu 10/29/2018


    1         A      I was -- I was as well in 2016.

    2         Q      And that was based on what?

    3         A      Based on my income in the last two years.

    4                MR. SADOCK:       Just objection -- standing

    5    objection to legal conclusion for the last four

    6    questions.

    7                MS. SWEENEY:        What's the objection?

    8                MR. SADOCK:       Calls for a legal conclusion.

    9    BY MR. SADOCK:

   10         Q      Are you married?

   11         A      No.

   12         Q      Have you been married?

   13         A      No.

   14                MR. SADOCK:       Justin, if you could slow

   15    down your answers, I could object.

   16                THE WITNESS:        Okay.     Sorry.

   17    BY MS. SWEENEY:

   18         Q      Did the members of EnSource have regular

   19    meetings?

   20                MR. SADOCK:       Objection.         Vague as to time.

   21                THE WITNESS:        Not regular meetings.

   22    BY MS. SWEENEY:

   23         Q      Is EnSource still a going concern as an

   24    organization?

   25         A      Yes.

                      Peterson Reporting Video & Litigation Services                44

                                                                               Exhibit F
                                                                              Page 126
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                                Justin Pannu 10/29/2018


    1           Q    Approximately how many meetings per year

    2    does EnSource hold?

    3            A   They're ad hoc, so I wouldn't be able to

    4    say.

    5           Q    You don't have regular annual meetings?

    6            A   It's a formation of friends.               So it's

    7    pretty informal.

    8           Q    When you do have meetings, do you have

    9    minutes of those meetings?

   10            A   No.

   11           Q    Do you do anything to formalize or

   12    memorialize the meetings or discussions that you

   13    have?

   14            A   No.

   15                MR. SADOCK:       Objection.         Calls for a legal

   16    conclusion as -- slow down.

   17                THE WITNESS:        I don't believe so, other

   18    than a bank account.

   19                MR. SADOCK:       Objection.         Calls for a legal

   20    conclusion as it pertains to questions on legal

   21    formation.

   22    BY MS. SWEENEY:

   23           Q    Do you -- does EnSource invest -- have any

   24    other investments going on right now?

   25            A   No.

                      Peterson Reporting Video & Litigation Services                45

                                                                               Exhibit F
                                                                              Page 127
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                                Justin Pannu 10/29/2018


    1         Q      Has EnSource made any other investments

    2    other than the one at issue in this lawsuit?

    3         A      No.

    4         Q      For what reason is EnSource still a valid

    5    entity?

    6                MR. SADOCK:      Objection.          Calls for a legal

    7    conclusion.    Speculation.

    8                THE WITNESS:       Why?     I guess for the

    9    purpose of this case.

   10    BY MS. SWEENEY:

   11         Q      Did you ever have meetings in person?

   12         A      Could you be more specific, like EnSource

   13    meetings?

   14         Q      Correct.

   15         A      In person?

   16         Q      Yes.

   17         A      With?

   18         Q      With the members of EnSource.

   19                MR. SADOCK:      Vague as to time.

   20    BY MS. SWEENEY:

   21         Q      Did you ever?

   22         A      I don't believe we have because we live --

   23    all of us live all over the country.

   24         Q      Do you ever have meetings via Skype or

   25    video conference?

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                               Justin Pannu 10/29/2018


    1         A     No.

    2         Q     So is it fair then to say that whenever

    3    you do have a meeting, it's over the telephone?

    4         A     Yes.

    5         Q     And is that something that you do via a

    6    conference call?

    7         A     I think there was -- I think that we dial

    8    each other in just off our iPhones, or when we were

    9    during the due diligence period, we may have used

   10    Free Count Conference Call.           But I'm not sure.

   11         Q     How many times in the approximate two

   12    years since EnSource was formed was there a

   13    telephone communication that included all the

   14    members of EnSource?

   15         A     When was the first time?

   16         Q     How many times.

   17         A     I don't know.        I don't remember.

   18         Q     More than ten?

   19         A     That included all the members?

   20         Q     Correct.

   21         A     Every single member?           I don't think there

   22    has been that many.

   23         Q     Less than five?

   24         A     Maybe.

   25         Q     So when a decision needs to be made, is

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                                Justin Pannu 10/29/2018


    1    there a formal vote that is taken?

    2            A   I think for a portion of the time after

    3    the due diligence period, the members just relied on

    4    what I was doing.

    5         Q      What you were doing?

    6            A   Yeah.

    7         Q      So you would make a recommendation to the

    8    group?

    9            A   I don't even know if it went that far,

   10    but...

   11         Q      So is it fair to say that if you took an

   12    action, that the general practice was that the rest

   13    of the members would back up whatever action you

   14    took?

   15                MR. SADOCK:       Objection.         Misstates

   16    testimony.     Vague as to time.          Ambiguous as to

   17    voting.

   18                THE WITNESS:        Yeah, I don't remember like

   19    all these details, but there would be some -- during

   20    the due diligence period or are you talking about

   21    afterwards?

   22    BY MS. SWEENEY:

   23         Q      I'm talking about in general.

   24            A   In general.       During the due diligence

   25    period, we'd have conference calls with our -- to

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    1    make a decision with our attorney onboard.                    So...

    2               MR. SADOCK:        Don't answer anything that

    3    involves decision-making with your attorney.

    4               THE WITNESS:         Okay.

    5    BY MS. SWEENEY:

    6         Q     I don't want to hear about the

    7    communications with your attorney.

    8         A     All right.

    9         Q     But do you, as the manager, have a comfort

   10    or an understanding that if you make a decision on

   11    behalf of EnSource, that you -- that you were

   12    allowed to make that decision without soliciting the

   13    vote of the rest of the members?

   14               MR. SADOCK:        Objection.         Compound.      Calls

   15    for a legal conclusion.

   16               THE WITNESS:         I think I would inform them

   17    by a telephone call what I -- one at a time what I

   18    was doing.     So it wouldn't be really a meeting of

   19    the members.

   20    BY MS. SWEENEY:

   21         Q     Did you ever get a EnSource domain

   22    registry for your emails?

   23         A     No.

   24         Q     So we're going to go through some of the

   25    emails here today, and I notice that there are --

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                               Justin Pannu 10/29/2018


    1    that a lot of them are gmails or personal email

    2    accounts.

    3                Is that the way it still is?

    4         A      Yes, for -- yeah.

    5         Q      Who is your lawyer for EnSource?

    6         A      Aaron Sadock, Bonnie, and Rich Nawracaj --

    7    or I don't know how to pronounce his last name.

    8    But --

    9         Q      Are there any other lawyers that EnSource

   10    has used?

   11                MR. SADOCK:      Objection as to -- are you

   12    referring to this case?

   13                MS. SWEENEY:       I'm just asking if there

   14    were other lawyers that have been used.

   15                MR. SADOCK:      By EnSource?

   16    BY MR. SADOCK:

   17         Q      By EnSource.

   18         A      Including Houston?

   19         Q      Yes.

   20         A      So Alan Gerber.        Justin Stoller.           And then

   21    there are a couple of, I believe, attorneys that

   22    Gerber had used, but I don't remember their names.

   23         Q      Mr. Nawracaj, is he somebody that you knew

   24    prior to becoming involved with EnSource?

   25         A      Yes.

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                               Justin Pannu 10/29/2018


    1    State of California            )

    2                                   )        ss

    3    County of San Diego            )

    4

    5             I, BRIDGET L. MASTROBATTISTA, CSR No. 7715,

    6    RPR, RMR, CRR, duly licensed and qualified in and

    7    for the State of California, do hereby certify that

    8    there came before me on the 29th day of October,

    9    2018, at 530 B Street, Suite 350, San Diego,

   10    California, the following named person, to-wit

   11    JUSTIN PANNU, who was duly sworn to testify the

   12    truth, the whole truth, and nothing but the truth of

   13    knowledge touching and concerning the matters in

   14    controversy in this case; and that he was thereupon

   15    examined under oath and his examination reduced to

   16    typewriting under my supervision; that the

   17    deposition is a true record of the testimony given

   18    by the witness.

   19                I further certify that pursuant to FRCP

   20    Rule 30(e)(1) that the signature of the deponent:

   21               (x) Was requested by the deponent or a

   22    party before the completion of the deposition;

   23               ( ) Was not requested by the deponent of a

   24    party before the completion of the deposition.

   25               I further certify that I am neither

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                                 HOPEWELL-PILOT PROJECT, LLC

                               INITIAL ADDITIONAL EQUITY SHARE S

                                   SUBSCRIPTION AGREEMENT


        THE OFFERJNG OF SECURITIES DESCRIBED HEREIN HAS NOT BEEN REGISTERED UNDER
        THE UNfI'ED STATES SECURITIES ACT OF 1933, AS AMENDED (TBE "SECURITIES ACT"),
        OR UNDER A.."N SECURITIES LAWS OF ANY STATE OF THE UNITED STATES OR ANY
        OTHER ruRI SDICTION.   THIS OFFERING IS MAD E PURSUANf TO REGULA TlON S OR
        REGULATION D UNDER SECTION 4(a)(2) OF SAID ACT, WHICH EXEMPTS FROM SUCH
        REGISTRATION CERTAIN TRANSACTIONS. FOR 11-IlS REASON, THESE SECURITIES WILL
        BE SOLD ONLY TO INVESTORS WHO MEET CERTAIN MINIMUM SUITABILITY
        QUALIFICATIONS DESCRIBED HEREIN.

        A PROSPECTIVE INVESTOR SHOULD BE PREPARED TO BEAR THE ECONOMIC RlSK OF AN
        INVESTMENT IN THE COMPANY FOR AN INDEFINITE PERIOD OF TJME BECAUSE THE
        SHARES OR MEMBER'S INTERESTS HAVE NOT BEEN REGISTERED UNDER THE
        SECURITIES ACT OR THE LAWS OF ANY OTHER JURlSDICTION, AND, THEREFORE,
        CANNOT BE SOLD UNLESS THEY ARE SUBSEQUENTLY REGISTERED OR AN EXEMPTION
        FROM REGISTRATION IS AVAILABLE. THERE IS NO OBLIGATION OF THE ISSUER TO
        REGISTER THE SHARES OR MEMBER'S INTERESTS UNDER THE SECURITIES ACT OR THE
        LAWS OF ANY OTHER JURISDICTION. TRANSFER OF THE SHARES OR MEMBER'S
        INTERESTS 1S ALSO RESTRlCTED BY THE TERMS OF THE AMENDED AND RESTATED
        COMPANY AGREEMENT RELATING THERETO.




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                                         HOPEWE LL-Pil., OT PROJE CT, LLC

                                     A TE XA S LIMITE D LIABILITY COMP ANY




         Hopewell-Pilot Project, LLC
         c/o Willis Group
         1400 Post Oak Blvd. Suite 200
         Attention: Tom Tatham
         Telephone: (713) 547~531
         E-mail: TTolham@H opewellTX.com

         Ladies & Gentlemen:

                  This SUBSCRJPTION AGREEMENT (the "Agreement") is entered into as of the Closing Date
         specified on the signature page hereto by and among HOPEWELL~PILOT PROJECT, LLC, a Texas limited
         liability company (the "Company"), and the investor identified on the signature page hereto (the
         "Investor"). Investor seeks admission to the Company as a New Member and the acquisition of Shares
         representing Member's Interest in the Company (the "Interest") in accordance with the Company's
         Amended and Restated Company Agreement (the "Company Agreement"). Capitalized terms used
         herein and not otherwise defined shall have the meanings set forth in the Compn.ny Agreement.

                 1.     Capital Commitment. In accordance with the terms of the Company Agreement and
         this Agreement, the Investor agrees to contribute to the Company the amount of capital specified under
         the heeding "Capital Commitment" set forth on the signature page hereto, or such lesser amount as the
         Company shall accept as determined by the Company's Managers in their sole and absolute discretion.

                   2.    Adoption. If the Investor is accepted as a New Member pursuant to paragraph 3 below,
         the Investor hereby agrees to adhere to and be bound by all terms and provisions of the Company
         Agreement and to perform all obligations therein imposed upon a New Member with respect to the
         Interest.

                 .3.    Acceptance of Subscription; Delivery of Company Agreement. The Investor
         understands and agrees that this subscription is made subject to the following terms and conditions:

                         (a)     The Managers jointly reserve the right to review the suitability of any person
         desiring to acquire an Interest and, in connection with such review, to waive such suitability standards as
         to such person as the Managers jointly deem appropriate under applicable Jaw;

                          (b)     The Managers may accept or reject the Investor's subscription, in whole or in
         part, and the Investor's subscription shall be deemed to be accepted by the Managers only when both of
         the Company's Managers have executed Investor's Agreement and Investor has been admitted to the
         Company as a New Member in accordance with the terms of the Company Agreement;

                         (c)     The Managers shall have no obligation to accept subscriptions in the order
         received;

                        (d)     The Interest to be created on account of this subscription shall be created only in
         the name of the Investor, and the Investor agrees to comply with the terms of the Company Agreement


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         and to execute any and all further documents necessary in connection with becoming a New Member of
         the Company;

                        (e)     The Investor hereby requests and authorizes the Managers to enter Investor's
         name on the Schedule of Members us holder of the Interest;

                        (t)      The Investor has consulted to the extent deemed appropriate by the Investor with
        the Investor's own advisers as to the financial, tax, legal and related matters concerning an investment in
        Interests and on that basis believes that an investment in the Interests is suitable and appropriate for the
        Investor;

                          (g)     The Investor is aware of and understands each of the risks and potential conflicts
        of interest inherent of an investment in the Company as set forth in the Memorandum;

                        (b)      The Managers, acting jointly, may transfer proceeds into an account in the name
        of the Company, and in such event, the Managers shall not be liable for any losses arising from such
        transfer and shall be fully indemnified by the Company out of the assets of the Company to the fullest
        extent permitted by law for any and all actions, costs, claims, damages, demands or expenses (including
        any reasonable attorneys' fees) suffered or incurred by the Managers as a result of such transfer;

                        (i)    The Investor hereby undertakes in respect of the Interest that the Investor: (i)
        shall comply with the restrictions on trans fer of the Interest contained in the Company Agreement; and
        (ii) acknowledges and agrees that, in the event that Investor defaults on its capital contribution obligation
        to the Company, the Interest may be subject to forfeiture and other consequences as specified in the
        Company Agreement; and

                         (j)      The Investor hereby declares that the Investor is not in the course of winding up
        or under liquidation or judicial management.

                4.      Conditions to Closing. Tue Company's obligations hereunder are subject to acceptance
        by the Managers of the Investor's subscription, and lo the fulfillment at the time of, or prior to, the
        Closing Date of each of the following conditions:

                         (a)      The representations and warran ties of the Investor contained in this Agreement
        shall be true and correct as of the Closing Date; and

                       (b)      All proceedings in connection with the transactions contemplated hereby and all
        documents and instruments incident to such transactions shall be satisfactory in substance and form to the
        Managers, and the Company shall have received all such counterpart originals or certified or other copies
        of such documents as the Managers may request.

                        The Investor's obligations hereunder are subject to the fulfillment at the time of, or prior
        to, the Closing Date of the following condition; an Amended and Restated Company Agreement of Title
        Rover, LLC reasonably acceptable to Investor.

                5,      Investor Representations. In connection with the Investor's acquisition of the Interest
        as of the Closing Date, the Investor makes the following representations and warranties on which the
        Managers and the Company arc entitled to rely:

                         (a)     The Interest will be held under the type of ownership identified on the signature
        page hereto.


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                                                                                                                  WILExhibit
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                           (b)      lf the Investor has checked that the Investor is not a "U.S. Person," as such term
         is used in Internal Revenue Service Form W-9, under the subheading "Tax Jurisdiction" below, the
         Investor hereby represents, under penalties of perjury, that the Investor (i) is a "ncn-UiS, Person" (as
         defined below); (ii) will not transfer or deliver any interest in the Interests except in accordance with the
         restrictions set forth in the Company Agreement; (iii) will notify the Managers immediately if the
         Investor becomes a U.S. Person at any time during which the Investor holds or owns any Interests; (iv) is
         not subscribing on behalf of or funding its Capital Contribution with funds obtained from U.S. Persons;
         and (v) it was o.ot in the United States at the time that the Interests were offered to it, and it was not in the
         United States at the time such offer was accepted; and (vi) it is not acting on behalf of, and it will not fund
         any portion of its subscription with assets of, any entity that is a "benefit plan investor" within the
         meaning of the United States Department of Labor Reg. Section 2510-101.3. For purposes of this section
         5(b), a "non-U.S. Person" is an individual who is not a citizen or resident of the United States or a
         corporation, partnership, estate or trust which is not a U.S. entity. Except for offers and sales 10
         dlscretionary or similar accounts held for the benefit or account of a oon-U.S. person by a U.S. dealer or
         other professional fiduciary, all offers to sell and offers to buy the Interests were made to or by the
         Investor while the Investor was outside the United States and at the time that the Investor's order to buy
         the Interests was originated the Investor was outside the United States.

                          (c)      The Investor is an "accredited investor" within the meaning of Regulation D of
         the U.S. Securities Act of 1933, as amended (the "Securities Act") and a "qualified client" as defined in
         the Investment Advisers Act of 1940, as amended, on the basis identified by checking the box. adjacent to
         the applicable representation on Schedule 2, Part 1 in the case of an individual investors and on Schedule
         2, Part 2 in the case of entity investors; and in the case of entity investors, represents to such further
         matters by checking the boxes adjacent to the applicable further representations on Schedule 2, Part 2
         (which checked representations in Schedule 2, Parts 1 and 2 are hereby incorporated by reference). The
         Investor (i) is not subject to any of the "Bad Actor" disqualifications (each, a "Disqualification Event")
         described in Rule 506(d)(l) under the Securities Act and (ii) will, subsequent to the date hereof, notify the
         Company's Managers of {A) any Disqualification Event relating to the Investor not previously disclosed
         and (B) any event that would, with the passage of time, become a Disqualification Event relating to the
         Investor. The Investor is acquiring the Interest solely for the Investor's own account and not directly or
         indirectly for the account of any other person whatsoever for investment and not with a view to, or for
         sale in connection with, any distribution of the Interest. The Investor does not have any contract,
         undertaking or arrangement with any person to sell, transfer or grant a participation to any person with
         respect to the Interest. The Investor has such. knowledge and experience in financial and business matters
         that the Investor is capable of evaluating the merits and risks of the investment evidenced by the
         Investor's acquisition of the Interest, and the Investor is able to bear the economic risk of such
         investment.

                           (d)    No representations or warranties have been made to the Investor by the
         Company, the Company's Managers, or any agent thereof, other than as set forth in the Company
         Agreement, and this Agreement. The Investor h11.S bad access to such information concerning the
         Company as the Investor deems necessary to enable the Investor to make an informed decision
         concerning the acquisition of the Interest. The Investor has bad access to the designated representatives
         oftbe Company, its Managers and the opportunity to ask questions of, and receive answers satisfactory to
         the Investor from, the Managers and or such designated representatives concerning the offering of
         Interests in the Company generally. The Investor has obtained all additional information requested by the
         Investor to verify the accuracy of all information furnished in connection with the offering of Interests in
         the Compnny.

                          (e)      Toe Investor understands that the Interest has not been registered under the
         Securities Act, or any securities law of any state of the United States or any other jurisdiction in reliance
         on an exemption for private offerings, and the Investor acknowledges that it has received and carefully
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         read the Confidential   Private Placement Memorandum of the Company (the "Memorandum"), the
         Company Agreement and this Agreement. The Investor understands that Doherty & Doherty LLP acts as
         counsel for the Company, the Company's Managers. No separate counsel has been retained to act on
         behalf of the Investors. No attorney-client relationship exists with any other person by reason of such
         person making an investment in the Company. The Investor has received and reviewed all such other
         information of the Company as the Investor or its representatives and advisers have requested.

                          (f)      The Investor is aware that the Investor must bear the economic risk of investment
         in the Interest for an indefinite period of time, possibly until final winding up of the Company, because
         the Interest bas not been registered under the Securities Act, there is currently no public market therefor,
         and the Interest cannot be sold unless subsequently registered under the Securities Act or an exemption
         from such registration is available. The Investor understands that the Company is under no obligation,
         and does not intend, to effect any such registration at any time. The Investor also understands that sales
         or transfers of the Interest are further restricted by the provisions of the Company Agreement and, 11S
         applicable, securities Jaws of other jurisdictions and the states of the United States, and that the Interest
         will not be transferred or disposed of except in accordance with the terms of this Agreement, the
         Company Agreement and registration under the Securities Act, or pursuant to an applicable exemption
         therefrom

                          (g)      The execution and delivery of the Company Agreement and this Agreement, the
         consummation of the transactions contemplated thereby and the performance of the obligations
         thereunder will not conflict with or result in any violation of or default under any provision of any other
         agreement or instrument to which the Investor is a party or any license, permit, franchise, judgment,
         order, writ or decree, or any statute, rule or regulation, applicable to the Investor.

                          (b)    The Investor bas fuJl power and authority to make the representations referred to
         in this Agreement, to acquire the Interest pursuant to this Agreement and the Company Agreement and to
         deliver the Company Agreement and this Agreement. The Company Agreement and this Agreement
         create valid and binding obligations of the Investor and are enforceable against the Investor in accordance
         with their terms, except as enforcement may be limited by applicable bankruptcy, insolvency,
         reorganization, arrangement, moratorium or other similar laws affecting creditors' rights, and subject to
         general equity principles and to limitations on availability of equitable relief, including specific
         performance.

                          (i)     The Investor confirms that the Investor has been advised to consult with the
         Investor's attorney regarding legal matters concerning the Company and lo consult with independent tax
         advisers regarding the tax consequences of investing in the Company. The Investor acknowledges that it
         understands that any anticipated United States federal or state income true benefits may not be available
         and, further, may be adversely affected through adoption of new laws or regulations or amendments to
         existing laws or regulations. The Investor acknowledges and agrees that the Company has made no
         warranty or assurance regarding the ultimate availability of any tax benefit, to the Investor by reason of
         the Investor's investment in the Company.

                          G}       The Investor acknowledges and agrees that (i) information relating to the identity
         of the Investor shall appear on the Schedule of Members and may appear on the financial statements of
         the Company, and (ii) other Members shall receive such information and may share such information with
         their advisors and oilier parties pursuant to the terms of the Company's Confidentiality Agreement.

                         (k)     The Investor is knowledgeable and experienced in evaluating investments and
         experienced in financial and business matters and is capable of evaluating the merits and risks of
         investing in the Interests. The Investor has evaluated the risks of investing in the Interests, and has
         determined that the Interests arc a suitable investment for the Investor. In evaluating the suitability of an

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        investm ent in the Interests, the Investor bas not relied upon any representations or other information
        (whether oral or written) other than as set forth herein, in the Memorandum, the Company Agreement, the
        other agreements and independent investigations made by the Investor or represcntativefs) of the Investor.
        With respect to its investment in the Company, the Investor is not relying upon any other information,
        representation or warranty by the Company, the Managers of the Company or any designated
        representatives of the Company.

                         (l)      The Investor is aware and acknowledges that (i) the Company bus limited or no
        significant operating history; (ii) there is no assurance of any income from an investment in the Company;
        (iii) any federal and/or state income tax benefits which may be available to the Investor may be lost
        through the adoption of new laws or regulations or changes to existing Jaws and regulations or differing
        interpretations of existing laws and regulations, in certain circumstances with retroactive effect; and
        (iv) the Investor, in making this investment, is relying, if at all, solely upon the advice of such Investor's
        personal tax advisor with respect to the tax. aspects of III! investment in the Company.

              6.     Company's and Manager's Representations. The Company and the Company's
        Managers make the following representations and warranties on which the Investor and its counsel are
        entitled to rely:

                         (a)    The execution and delivery of the Company Agreement and this Agreement, the
        consummation of the transactions contemplated thereby and the performance of the obligations
        thereunder will not conflict with or result in any violation of or default under any provision of any other
        agreement or instrument to which the Company is a party or any judgment, order, writ or decree
        applicable to the Company.

                         (b}    No suit, action, claim. investigation or other proceeding is pending or, to the best
        of the Company's or the Manager's knowledge, is threatened in writing against the Company which
        questions the validity of the Company Agreement or this Agreement or any action taken or to be taken
        pursuant to the Company Agreement or this Agreement, or which could otherwise have a material adverse
        effect on the Company.

                         (c)   The Company Agreement and this Agreement create valid and binding
        obligations of the Company and are enforceable against the Company in accordance with their terms.

                 7.     Trustee, Agent, Representative or Nominee. If the natural person or entity completing
        this Agreement is acting as trustee, agent, representative or nominee for the Investor (such person or
        entity, the "Agent"), the Agent agrees that the representations, warranties and agreements made herein are
        made by such Agent (a) in respect of such Agent and (b) in respect of the underlying subscriber on whose
        behalf the Agent is acting. The Agent represents and warrants that such Agent has all requisite power and
        authority to execute this Agreement and perform the obligations under this Agreement on the underlying
        Investor's behalf. The Agent agrees to provide any additional documents and information that the
        Company reasonably requests relating to itself or the underlying Investor.

                 8.         Survival of Agreements, Representaticns and Warranties; Indemnlflcatlon.

                          (a)    All agreements, representations and warranties contained herein or made in
        writing by or on behalf of the Investor, the Company or the Managers of the Company in connection with
        tile transactions contemplated by this Agreement shall survive the execution of this Agreement and the
        Company Agreement, any investigation at any time made by the Investor, the Company or the Managers
        of the Company or on behalf of any of them and the sale and acquisition of the Interest and payment
        therefor.


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                          (b)     The Investor acknowledges that the Investor understands the meaning and legal
         consequences of the representations and warranties made by the Investor herein. Such representations
         and warranties are complete and accurate, shall be complete and accurate as of the Closing Date and may
         be relied upon by the Company's Managers and the Company. If there should be any material change in
         any of the representations or warran ties or other information regarding the Investor set forth herein,
         including at any time following the Closing Date, the Investor agrees to notify the Company's Managers
         in writing as promptly as reasonably practicable.

                          (c)     The Investor agrees that the foregoing representations and warran ties, and all
         other information regarding the Investor set forth herein, may be used as a defense in any actions relating
         to the Company, the Managers of the Company or the private placement of the Interest, and that it is only
         on the basis of such representations, warranties and other information that the Company's Managers may
         be willing to accept this Agreement on behalf of the Company, The Investor acknowledges that the
         Company, and the Managers of the Company shall rely on such information, representations and
         warranties on an ongoing basis.

                 9.       Binding Effect. This Agreement sball be binding upon the Investor and the heirs,
         personal representatives, successors and assigns of the Investor, The Investor agrees that neither this
         Agreement nor any rights which may accrue to the Investor hereunder may be transferred or assigned
         without the consent of the Company's Managers, which may be granted or withheld in its sole discretion
         or otherwise 11s provided in the Company Agreement. This Agreement shall survive the admission of the
         Investor to the Company and shall, if the Investor consists of more than one person, be the joint and
         several obligations of all such persons.

                  10.     Severabillty. If any provision of this Agreement is held to be invalid or unenforceable in
         any jurisdiction, such provision shall be deemed modified to the minimum extent necessary so that such
         provision, as so modified, shall no longer be held to be invalid or unenforceable. Any such modification,
         invalidity or unenforceability shall be strictly limited both to such provision and to such jurisdiction, and
         in each case to no other. Furthermore, in the event of any such modification, invalidity or
         unenforccability, this Agreement shall be interpreted so as to achieve the intent expressed herein to the
         greatest extent possible in the jurisdiction in question and otherwise as set forth herein.

                 11.      Confidentiality. The Investor bas carefully read the Company's Confidentiality
         Agreement and by execution thereof understands, including without limitation the confidentiality and
         non-solicitation undertakings set forth therein which shall apply to the Investor, whether or not this
         Agreement is accepted by the Company.

                12.     Counterparts. bis Agreement may be executed in multiple counterparts, each of
         which shall be deemed an original but all of which together shall constitute one and the same
         instrum ent.

                 13.      Amendments. Neither this Agreement nor any term hereof may be changed, waived,
         discharged or terminated orally, but only with the written consent of the Investor and the Company.

                 14.      Governing Law. The interpretation and enforceability of this Agreement and the rights
         and liabilities of the parties hereto shall be governed by the laws of the State of Texas. To the extent
         permitted by the Act and other applicable law, the provisions of this Agreement shall supersede any
         contrary provisions of the Act or other applicable law.




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                                                                                                                   WILExhibit
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                THE UND ERSIGNED lNVE STOR HEREB Y REPRESENTS THAT (I) THE UNDERSIGNED INVES TOR HAS
                CARE FULLY READ AND IS FAMILI AR WITH TIDS AGREEMENT AND THE COMPANY AGREEMENT ,
                (n) THE INFORMATION CONTAINED HEREIN IS COMPLETE AND ACCURATE AND MAY BE RELIED
                UPON, AND (111) TitE EXECUTION OF TI-IE FOLLOWING SIGNAnJRE PAGE SHALL CONSTITIJTE THE
                EXECUT ION OF TIIlS AGREEMENT AND TIIE COMJ'ANY AGREEME NT BY TilE lNVE STOR IN THE
                EVENT THAT THE INVES TOR IS ADMITTE D TO TIIE COMPANY AS A NEW MEMBER.

                IN WITNESS WHEREOF, the undersigned bas executed this Subscription Agreement as of this
                29th day of September, 2016.


        THE COMPANY :                                                          INDIVIDUAL INvESTOR:




        :27;~:_
        By: THOMASP. TATHAM
        Its: Manager
                                                                    (Signature)

                                                                    (Signature)


                                                                    (Print Name As It Will Be Registered With This
                                                                    Investment)

        BY: MARK A. WILLIS
        Its: Manager                                                ENTITY INVESTOR:
                                                                    EnSource Investments LLC


                                                                    By:---':
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        Closing Date:                                               Capital Commitment: $530,000.00*
        (To be completed by the Company)                            *$205,000.00 through exercise of convertible
                                                                    promissory note; $20,000 on or before
                                                                    September 30, 2016; $205,000 on or before
                                                                    October 28, 2016; $100,000 on or before
                                                                    December 31, 2016.
        Please provide the following information:
                D       Individual                        D         Irrevocable Trust
                D       Community Property                D         Living Trust or Revocable Trust w/ _grantors.
                D       Partnership                       D         Corporation
                □       Limited Liability Company         D         Other:                           _
        If the Investor is an entity, as of the Closing Date, there are four (4) holders of its outstanding securities
        (other than short-term paper) (please fill in the blank specifying the number of beneficial owners).




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              Primary contact pcrson:_-=J:..:u~
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              Telephone Number:_--'-"
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                                       9)~3~!~
                                             8-~2~
                                                 60~7                 Fax Number:                           _
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                  Ill Social Security or Taxpayer LD. Number__9i                            ~3~1<J-t--+1--------
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                   □ U.S. Investor/ U.S. Person                      D Non-U.S. Investor/ Foreign Person
                   D Exempt under Code Section 40l(a)                □ Exempt under Code Section 892
                   D Exempt under Code Section 50l(c)3

         Residential/Business Address (Domicile for Blue Sky filing purposes):

                   70D W. E Street, Unit 3804
                   San Diego, California 92101

         Registered Address     (if applicable):

                               -~--------~-------~--~--···•·•'"··-·-····---···-··                                 ...   ·-···

                   ·······--·····------~~-~-----~~~-~---~--------

         Mailing Address (select one):

         [XJ       Please use the Subscriber's Residential/Business Address as the Mailing Address
         [)        Please use the Subscriber's Registered Address as the Mailing Address
         []        Please use the following as the Subscriber's Mailing Address:




         METHOD OF DELIVERY OF ACCOUNT COMMUNICATIONS. Account Communications may be
         delivered via the e-mail address provided on this page. Should this means of transmission be unacceptable,
         Account Communications will be delivered via facsimile or physical delivery if the following box is checked:
        0     E-mail transmission is declined, please send Account Communications via facsimile or physical delivery


        For ail account communications, please send via e-mail as well as physical delivery.




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                       IN WITNE SS WHE REOF, this Amended and Restated Company Agreement has
        been entered into by the parties as of this 29th day of September, 2016.

                                                           THE COMPANY

                                                           HOPEWELL-PILOT PROJECT, LLC

                                                           By/2,C<U/~
                                                                 MANAGER

                                                           By:      ~c:U~
                                                                 MANAGER


                                                           NEW MEMBERS


                                                           INDIVIDUAL:


                                                           By:------------

                                                           By: ------------
                                                           Name:         _



                                                           ENTITY:



                                                           EnSource Investments LLC

                                                           By:       ~ ~
                                                                       .......,._,_----
                                                                                   , --

                                                           Name:      ::fu>:;r ~-'{)fi._l'(__i'Y.'.u__
                                                           Title:    dlAN'A 6€:TL




                        Signature Page to the Amended and Restated Company Agreement of
                                            Hopewell-Pilot Project, LLC




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                                                                        ANNEX}


                                                                         PARTl

       Individual Investor Representations.

       All defined terms have tbe meanings provided lo them in the Agreement; the following representations are
       incorporated by reference into the Agreement.

       The Investor makes the following representations regarding the Investor's status as an Accredited Investor and
       a Qualified Client by checking the box adjacent to each representation below:

       D         (a)       Accredited Investor: The Investor is an individual and bas a net worth, either individually or
                           upon a joint basis with the Investor's spouse, that exceeds $1,000,000, excluding the net
                           equity value of such individual's primary residence, if any, but including as a liability the
                           amount by which any indebtedness secured by such residence exceeds the value of such
                           residence (within the meaning of such terms as used in Rule 50 l under the Securities Act}, 1 or
                           has had an individual income in excess of $200,000 for each of the two most recent years, or a
                           joint income with the Investor's spouse in excess of$300,DOO in each of those years, and has a
                           reasonable expectation of reaching the same income level in the current year.

       D         (b}        Qualified Client: The Investor is an individual that {i) has a net worth, together with assets
                            held jointly with the Investor's spouse, of more than $2,000,000, excluding the net equity
                            value of such individual's primary residence, if any, but including as a liability the amount by
                            which any indebtedness secured by such residence exceeds the value of such residence {within
                            the meaning of such terms as used in Rule 501 under the Securities Act),? or (ii) is a Qualified
                            Purchaser.




       ' Any indebtedness secured by such primary residence tlmt the Investor incurred within the 60 day period preceding the date of the sale
       of securities pursuant to this Agreement (other than indebtedness incurred as a result of the acquishion of the Pl'Ul1lll'Y residence) will be
       included as 11 liability for purposes of this calculation, even if the total amount of indebtedness securing such primary residence does
       not exceed the value of such residence.


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                                                           ANNE X!

                                                            PART2

       Entity Investor Representations,

       All defined terms have the meanings provided to them in the Agreement; the following representations are
       incorporated by reference into the Agreement.

       The Investor makes the representations regarding the Investor's status as an Accredited Investor and a
       Qualified Client by checking tire box adjacent to the each representation below:

       ACCREDITED INVESTOR REPRESENTATION (check the box adjacent to 11t least one applicable
       representation below):

       □       (i)     The Investor is a corporation, partnership, business trust or limited liability company, not
                       formed for the purpose of acquiring an Interest, or an organization described in section
                       50l(c)(3) of the Code, in each case with total assets in excess ofSS,000,000,

               (il)    The Investor is an entity in which all of the equity owners (or a living trust or other revocable
                       trust in which all of the granters to such trust) qualify under Annex 1, Part l, clause (a) or (b),
                       or clause (i), (iii), {iv), (v} or this clause (ii) of this Annex I, Part 2.

       0       (ill)   The Investor is an employee benefit plan and either all investment decisions are made by a
                       bank, savings and loan association, insurance company, or registered investment advisor, or
                       the Investor has total assets in excess of $5,000,000 or, if such plan is a self-directed plan,
                       investment decisions are made solely by persons who are Accredited Investors.

       0       (iv)    The Investor is an irrevocable trust with total assets in excess of$5,000,000 whose acquisition
                       is directed by a person with such knowledge and experience in financial and business matters
                       that such person is capable of evaluating the merits nnd risks of the prospective investment.

       0       (v)     The Investor is a bank, insurance company, investment company registered under the
                       Investment Compnny Act, a broker or dealer registered pursuant to Section 15 of the United
                       States Securities Exchange Act of 1934, as amended, a business development company, n
                       Small Business Investment Company licensed by the United States Small Business
                       Administration, a plan with total assets in excess of$5,000,000 established and maintained by
                       a state for the benefit of its employees, or a private business development company as defined
                       in Section 202(a)(22) of the Investment Advisers Act.

       □       (vi)    The Investor cannot make any of the representations set forth in clauses (i) through (v) above.




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       QUALIFIE D CLIENT REPRESENTATION (check the box adjacent to at least one applicable
       representation below):
       D           (i)          The Investor is n· corporation, partnersbip, association, joint-stock company, trust, or any
                                organized group of persons, whether incorporated or not, that has a net worth of more than
                                $2,000,000. If the Investor belongs to this investor category, please either check clause {iii)
                                below, if applicable, or affirmaJively deny the applicability of clause (iii) below.

                   ("Li)        The Investor is a corporation, partnership, association, joint stock company, trust, or any
                                organized group of persons, whether incorporated or not, that is a Qualified Purchaser. If the
                                Investor belongs to this investor category, please either check clause (iii) below, if
                                applicable, or affmnatively deny the applicability of clause (iii) below.

       D           (fu")        The Investor is a corporation, partnership, association, joint-stock company, trust, or any
                                organized group of persons, whether incorporated or not. that is an Excluded Company, and
                                all of the Investor's equity owners (and all of their respective equity owners) are Qualified
                                Clients.

       II                       The Investor bas checked either or both of clauses (i) or (ii) above and affirma tively denies
                                applicability of this clause (iii).

       D           (vi)         The Investor cannot make any of the representations set forth in clauses {i) through (iii) above.



       FURTHER ENTITY INVESTOR REPRESENTATIONS

       The Investor makes the following representations by checking the box adjacent to the correct response to each
       representation below:

       El   True      D False                   The Investor is neither an "investment company" under the Investment
                                                Company Act nor docs the Investor rely upon the exclusions from the
                                                definition of "investment company" provided for in Section 3(c)(l) or J(c)(7)
                                                of the Investment Company Act,

       D True            Ill   False            The Investor was not organized for the purpose of acquiring the Interest,

       Ell True       O        false            The Investor has made investments prior to the date hereof or intends to make
                                                investments in the near future and each beneficial owner of interests in the
                                                Investor has and will share in the same proportion to each such investment,

       D True                  False            The Investor's investment in the Company will not constitute more than 40%
                                                of the assets of the Investor (including any capital commitments that may be
                                                drawn upon demand by the Investor).

       Ii True        D        False            The governing documents of the Investor require that each beneficial owner
                                                of the Investor, including, but not limited to, shareholders, partners and
                                                beneficiaries, participate through their interest in the Investor in all of the
                                                Investor's investments and that the profits and losses from each such
                                                investment are shared among such beneficial owners in the same proportions
                                                as aJl oilier investments of the Investor. No such beneficial owner may vary
                                                the Investor's share of the profits and losses or the amount of the Investor's
                                                contribution for any investment made ~y the Investor.

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       If any of the above statements are marked "False," then the Investor will have, as of the Closing Date, four (4)
       holders of its uutstanding securities (other than short-term paper) (please fill in the blank specifying the
       number of beneficial owners).

       The Investor is:

       □True           False            an "employee welfare benefit plan" or an "employee pension benefit plan" as
                                        defined in sections 3(1) and 3(2), respectively, ofERISA; or

       □True           False    (2)     a plan described in section 4975{e)(l) of the Code; or

       □True           False    (3}     an entity that is deemed to be a "benefit plan investor" under the DOL
                                        Regulations because all or part of its underlying assets include "plan assets"
                                        by reason of a plan's investment in the entity (including, by way of example
                                        only, a partnership not qualifying as an operating company within the
                                        meaning of the DOL Regulations, which is 25% or more owned by entities
                                        described in (I) or (2) above); or

       D True          False    (4)     subject to any rules or regulations similar to the fiduciary provisions of
                                        ERlSA and/or the prohibited transaction provisions of Section 4975 of the
                                        Code.

       If clause (3) above is marked "True," please provide the percentage that the Investor's "plan assets" holdings
       bear to its aggregate asset holdings (based upon value as of the Closing Date):            % (the "Plan Asset
       Percentage").

       □True           False            The Investor is a "private foundation" as described in Section 509 of the
                                        Code.

       □True           False            The Investor is subject to the Bank Holding Company Act of 1956. as
                                        amended.

       ffl True   D    False            To the best of the Investor's knowledge, the Investor does not control nor is it
                                        controlled by or under common control with, any other Investor.

       Please check the box next lo each applicable statement and provide appropriate information in response to
       each such statement:

       □True           False            The Investor is subject to federal or state freedom of information (FOIA)
                                        statutes or other similar statutes in each of the following jurisdictions. (ff a
                                        similar statute is applicable, please specify the applicable statute along with
                                        the applicable jurisdiction, to the extent known):



       □ True     a Folse               One or more of the Investor's beneficial owners is subject to federal or stale
                                        FOIA statutes or other similar statutes in each of the following jurisdictions.
                                        (If a similar statute is applicable, please specify the applicable statute along
                                        with the applicable jurisdiction, to the extent known):




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       0 True   d    False   The Investor is a public agency, department, office or pension plan. (Please
                             specify type and applicablejurisdiction.);



       □ True   II   False   One or more of the Investor's beneficial owners is a public agency,
                             department, office or pension plan. (If known, please specify type of owner
                             and applicable jurisdiction below. ):




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 To:        Justin Pannu uustinpannu1503@gmail.com]
 Cc:        Cliff Sharp[ecsharp111 @gmail.com]; jerry johnsuerry.johns@intelometry.com] ; Jeff
 Merolaueff.merola@ intelometry.com]; Martin, Chad[ChadMartin@bgcpartners.com]; Mark
 Willis[Mark@willisgroupus.com]; Pat Doherty[Pat@doherty-law.com]; Richard E. Nawracaj
 (rich.nawracaj@nawracaj-law .com)[ rich. nawracaj@nawracaj-law .com]
 From:      Tom Tatham
 Sent:      Fri 9/30/2016 2:14:40 PM
 Subject: Re: EnSource Subscription Agreement to Hopewell Pilot-Project LLC
 Hopewell -Pilot Project-Initial Additional Equity Shares-Subscription Agrmt-EnSource-9.2 9.2016.pd f
 Schedule A Third Amendment 9 29 2016 w addition of EnSource Investments. LLC.docx
 Third Amended Restated Compa ny Agreement.signature page - EnSource Investment, LLC 9-29-16.doc

Hi Justin,
Attached is t he fully executed Subscription Agreement for your files. I have also attached a revised SCHEDULE A to
the Third Amended and Restated Company Agreement which reflects the addition of EnSource Investments, LLC.
 Please execute, scan and return the MEMBERS SIGNATURE PAGE and I will circulat e the revised SCHEDULE A to all
Members.
Please send the initial payment by w ire transfer as per the Subscription Agreement to: Amegy Ban k, N.A.; ABA#
113011258; Account#: 5793018168; Account Holder: Hopewell-Pilot Project, LLC; Reference: for the benefit of
EnSource Investments, LLC as per Subscription Agreement dated September 29, 2016.
Thanks for your he lp!
Have a good weekend,
Tom

From: Tom Tath am <t pt@lngpart ners.com>
Date: Friday, September 30, 2016 at 9:18AM
To: Justin Pannu < justlnpannu1503@gm ail.co m>
Cc: Cliff Sharp <ecshar p111@gmail.com>, jerry johns <jerry.johns@intelom etry.com>, Jeff Merola
<jeff.merola@ inte lometry.com >, " M artin, Chad" <ChadMartin@bgcpa rtn ers.com>, Mark Willis
<Mark@willisgroupus.com>, Pat Doherty <Pat@Doherty-Law.com>, "Richard E. Nawracaj
(rich.nawraca j@nawraca H aw .com)" <rich.nawracaj @nawraca j-law.com>
Subject: Re: EnSource Subscript ion Agreement to Hopewell Pilot-Project LLC

Hi Justin,
Thanks! I will have the fu lly executed subscription back to you t his morning when Mark gets in together with wire
transfer instruction s. It looks like the third tim e will fi nally be t he charm!
Tal k soon,
Tom



From: Justin Pannu <just inpa nnu 1503@gmail.com>
Date: Thursday, September 29, 2016 at 9:24 PM
To: Tom Tatham <tpt@lngpa rtners .com>
Cc: Cliff Sharp <ecsharp111@gmai l.com>, jerry j ohns <jerry.johns@intelom etry.com>, Jeff Merola
<jeff. merola@ inte lometry.com>, "Martin, Chad" <ChadMart in@bgcpartn ers.com>, Mark W ill is
<Mark@willisgroupu s.com>, Pat Doherty <Pat@ Doherty-Law.com>, "Richard E. Nawracaj
(rich .naw racaj@nawraca j-law.com)" <rich.nawraca j@nawracaj-law.com >
Subject: EnSource Subscription Agreement to Hopewell Pilot-Project LLC

Hi Tom,
Please see attached Subscription Agreement reflecting the t ot al new investment of $530,000. Please send us a fu lly
executed copy of the Subscription Agreement by tomorrow morning and we will transfer th e next payment of
$20,000 by COB tomorrow.




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